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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA


   DONNA CROWE, individually                                  Case No.: 0:23-cv-61065-AHS
   and on behalf of all others similarly situated,

                       Plaintiff,

   vs.

   MANAGED CARE OF NORTH AMERICA,
   INC., d/b/a MCNA DENTAL,

                       Defendant.
                                                          /

  PLAINTIFF’S NOTICE OF PENDING, REFILED, RELATED OR SIMILAR ACTIONS

          Plaintiff Donna Crowe, by and through her undersigned counsel, and pursuant to S.D. Fla.

  L.R. 3.8, hereby files this Notice of Pending, Refiled, Related or Similar Actions, and identifies

  the following pending, refiled, related or similar actions:

          1.          Brandy Nelson v. Managed Care of North America, Inc., No. 0:23-cv-61087-AHS

  (S.D. Fla. June 7, 2023) (Singhal, J.).1

          2.          Brittney Brown v. Managed Care of North America, Inc., No. 0:23-cv-61112-BB

  (S.D. Fla. June 9, 2023) (Bloom, J.).

          3.          Dennis Shuey, et al. v. Managed Care of North America, Inc., No. 0:23-cv-61132-

  RS (S.D. Fla. June 12, 2023) (Smith, J.).

          4.          John Anson v. Managed Care of North America, Inc., No. 0:23-cv-61139-RS (S.D.

  Fla. June 13, 2023) (Smith, J.).



  1 The Nelson action was transferred from the Honorable Rodolfo A. Ruiz II to this Court on June 13, 2023.
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          5.          Sherry Branson v. Managed Care of North America, Inc., No. 0:23-cv-61143-RNS

  (S.D. Fla. June 14, 2023) (Scola, J.).

          6.          Taylor Manning v. Managed Care of North America, Inc., No. 0:23-cv-61146-

  KWM (S.D. Fla. June 14, 2023) (Williams, J.).

          7.          Darrin Menendez v. Managed Care of North America, Inc., No. 0:23-cv-61149-

  DPG (S.D. Fla. June 14, 2023) (Gayles, J.).

          8.          Yvon Hanekom and Kade McCraw v. Managed Care of North America, Inc., No.

  0:23-cv-61151-CMA (S.D. Fla. June 14, 2023) (Altonaga, C.J.).

          9.          Montwain Carter v. Managed Care of North America, Inc., et al., No. 0:23-cv-

  61158-CMA (S.D. Fla. June 15, 2023) (Altonaga,C. J.).

          10.         Amber Landry v. Managed Care of North America, Inc., No. 0:23-cv-61171-BB

  (S.D. Fla. June 15, 2023) (Bloom, J.).

          11.         Sierra Jackson v. Managed Care of North America, Inc., No. 0:23-cv-61173-RS

  (S.D. Fla. June 15, 2023) (Smith, J.).

                                                Respectfully submitted,
   DATED: June 20, 2023                        ROBBINS GELLER RUDMAN
                                                 & DOWD LLP



                                                            /s/ Dorothy P. Antullis
                                                           DOROTHY P. ANTULLIS




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                                   DOROTHY P. ANTULLIS (FL Bar No. 890421)
                                   ALEXANDER C. COHEN (FL Bar. No.: 1002715)
                                   225 NE Mizner Blvd., Suite 720
                                   Boca Raton, FL 33432
                                   Phone: 561/750-3000
                                   561/750-3364 (fax)
                                   dantullis@rgrdlaw.com
                                   acohen@rgrdlaw.com

                                   BARNOW AND ASSOCIATES, P.C.
                                   Ben Barnow (admitted pro hac vice)
                                   Anthony L. Parkhill (admitted pro hac vice)
                                   205 West Randolph Street, Suite. 1630
                                   Chicago, IL 60606
                                   Telephone: 312/621-2000
                                   312/641-5504 (fax)
                                   b.barnow@barnowlaw.com
                                   aparkhill@barnowlaw.com

                                    Attorneys for Plaintiff Donna Crowe and the Class




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